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                                 EXHIBIT A
                                                         Case Number:21-002389-CI
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Filing #   126669899 E-Filed 05/12/2021 01:53:25 PM




                                  IN THE CIRCUIT COURT OF THE 6th JUDICIAL
                                                                           CIRCUIT
                                       IN AND FOR PINELLAS
                                                           COUNTY, FLORIDA

                                                                                    CASE NO:

            ECOM PRODUCTS GROUP
            CORPORATION, a Florida-For-
            Profit Corporation,



                     Plaintiff

            V.



            MICHAEL COX,          an   individual,

                     Defendant.
                                                                     I


                                                             COMPLAINT

                    Plaintiff,    ECOM           PRODUCTS       GROUP      CORPORATION,               a     Florida-For-Profit

           Corporation ("Plaintiff'), sues Defendant,           MICHAEL      COX,             individual
                                                                                     an
                                                                                                           ("Defendant"),   and

           states as   follows:


                                                       Jurisdictional Allegations

                    I.        Plaintiff is   a   Florida-For-ProfitCorporation with       a
                                                                                              principal place   of business in

           Pinellas County, Florida,      at 100 Second Avenue      South, Suite 903-S, St. Petersburg, FL, 33701.

                    2.        Defendant is an individualresiding in Santa Barbara
                                                                                              County, California. Defendant
           entered into   a   Letter of Agreement with Plaintiff (the
                                                                      "Agreemenf'),pursuant to which he, litter
           alia,   consented to Florida law          governing any legal   action    or   proceeding arising       out of the


           Agreement. A copy ofthe Agreement is             attached hereto at Exhibit "A. n

                    3.        Defendant entered into the Agreement, which includes the
                                                                                       requirement that the
           instantlawsuit be brought in the State ofFlorida and Defendant submit to the exclusive
                                                                                                                  jurisdiction
           of Florida courts, by way of consent.




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          4.         The exercise of personal        jurisdiction over Defendant in the State of Florida, and
 venue in      this judicial district is just and
                                                    proper pursuant to the terms of the    Agreement.
          5.         This action is suit seeking claims for breach of
                                                                      contract, tortious interference, and

 injunctive reliefand damages in excess of$30,000.00, exclusive
                                                                ofattorneys' fees, costs orinterest.
                                                General Allegations

          6.         Plaintiff is in the business of
                                                     providing         a   full suite of social and eCommerce

solutions for brands           entering new markets domestically and cross-border. Plaintiff understands

and utilizes sales channels and online social
                                              platforms              allowing retailers and brands         to connect

with targeted consumers
                                  through organic social engagement.
         7.         Plaintiffpositions brands in new markets that include the United States, the United

Kingdom, Australia,             and China. Plaintiff increases its customers
                                                                                       efficiency   and return    on


investment using a streamlined approach             to social commerce and cross-border
                                                                                              entry.
         8.          The sector       specialists employed       and utilized         Plaintiff coordinate social
                                                                                 by

platforms, online sales channels, and third-party partnerships giving Plaintiffs                customers brand

exclusive access.

         9.         On January      1,2020, Plaintiffand Defendant entered into the Agreement which was

to continue for     a   period of five years.

         10.        Pursuant to the terms ofthe Agreement
                                                          PlaintiffengageddDDefendant as               a   consultant

to   provide international consulting services for           the   operation    of Plaintiff ("Consultant"), and


employed Defendant as an independent contractor.

         11.        As   a   Consultant for Plaintiff,Defendant reported directly to the Chairman as
                                                                                                              agreed

by Plaintiff' s Board         of Directors, had the title of Group COO and Head of
                                                                                   Platforms, and was

required to provide consulting services, including the following:




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              a.   Role        1,

                          i.
                           Appointed as one ofthe directors of Plaintiff.
                         ii.
                           Appointed as the Finance Director ofthe Group.
                      iii. Appointed as the COO of Plaintiff to
                                                                    support the Group's strategy                       and
                           objectives and generally support the Executive Chairman.

              b.   Role 2


                         i. Act           as   the   Managing Director of Plaintiffs platforms, whereby Defendant
                                    was  required to macro manage Plaintiffs platforms' investment and be
                                    responsible for managing and building these investments.

        12.        For   performing these                services   as a   Consultant, Defendant    was   compensated   as


detailed in Section 2 ofthe Agreement.

        13.        The Agreement contains a
                                                            confidentiality covenant, which states in pertinent part:
                   The consultant understands and agrees to
                                                                 keep any and all informationconfidential
                   regarding the business plans, inventions, designs, products, services, processes,
                   trade secrets, copyrights, trademarks, customer information, customer
                                                                                              lists, prices,
                   analytics data, costs, affairs, and any other information that could be considered
                   proprietary to the Company ("Confidential Information"). The Consultant
                   understands that disclosure of any such Confidential
                                                                           Information, either directly or
                   indirectly, shall result in litigation with the Company eligible for equitable relief to
                   the furthest extent of the law, including but not limited
                                                                               to, filing claims for losses
                   and/or damages.,. The confidentiality term shall survive this
                                                                                      agreement.

        14.        Defendant violated the Agreement by using Plaintiff's Confidential Information to

contact and provide       false and misleading informationto Plaintiff's
                                                                         investors, clients, partners, and

employees.

       I5.         Defendant has used the Confidential Information in                          a   campaign   to   destroy
Plaintiff's business by using false,                  misleading,   and    disparaging information to damage Plaintiff,
resulting in the loss of investors, business relations and opportunities, and disruption of employee

relationships.




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          16.       Defendant breached the Agreement by
                                                                  contacting   the   following investors   of

 Plaintiff: (1) Mark Schaub; (2) Blaine Lando;
                                               (3) Gregory Cooper; (4) Tim           Smith; (5) Sean Hecht;
 and   (6) Lachlin Miller (collectively, the "Investors'D.

          17.       Defendant breachedthe Agreement by
                                                             contacting the following clients and partners
of Plaintiff:     (1) C Magazine; (2) Hearst Media; (3) Robert Tran; and (4)         the National Society of

High School Scholars ("NSHSS") (collectively, the "Clients           and Partners").

          18.       Defendant breached the      Agreement by contacting      the   following employees     of

Plaintiff:   (1) Leah Orley and (2) Jonathan White (collectively, the "Employees").

          19.       Defendant used Plaintiffs Confidential Information to contact the
                                                                                      Investors and

provide them with false and misleading information in           an   attempt to get the Investors to   cease


investingin Plaintiff.

         20.        Due to the false and misleading information
                                                              n   pprovided by Defendant, some Investors
did divest,     including (1)   Blaine Lando and (2) Sean Hecht.

         21.       Upon Information       and belief, Defendant provided           Plaintiff's Confidential

Information to Mark Schaub.            Upon information and belief, Defendant        and Mark Schaub    are



conspiring to cause damage to Plaintiff's business.

         22.       Defendant used Plaintiffs Confidential Information to contact the Clients and

Partners and provide them with false and misleading information. Defendant
                                                                                       thereby attempted to
convince these Clients and Partners to cancel their respective contracts with Plaintiff.

         23.       Defendant used Plaintiffs Confidential Information to contact C Magazine and

Hearst Media       during his employment with Plaintiff.   Defendant also used false, misleading, and

disparaging information that Defendant provided          to C   Magazine. This resulted in    C   Magazine

terminating its    contract with Plaintiffto   provide marketing services for C Magazine.




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          24.     Defendant used Plaintiffs Confidential Infonnation and
                                                                         provided false and

 disparaging informationto Hearst Media. This resulted in Hearst Media not providing Plaintiffthe

use   ofthe Elle name as previously
                                       agreed as part of the Elleshop acquisition.

          25.     Defendant's actions prevented the
                                                       Elleshop acquisition from proceeding during the
period of his consulting relationship with Plaintiff.

          26.     Upon information and belief Defendant used Plaintiffs Confidential Information
to contact C    Magazine, Hearst Media, and NSHSS after his employmentwith Plaintiff.

          27.     Defendant used Plaintiff's Confidential Information to contact NSHSS to
                                                                                                       provide
it with   false, misleading,   and   disparaging information. This         caused NSHSS to terminate its

marketing and sales channel partnership with Plaintiff.

          28.    Defendant used Plaintiffs Confidential Information to                   contact Plaintiff's

Employees to provide them with false and misleading information. Defendant did so to convince

the Employees to terminate their
                                 employment with Plaintiff.

          29.    Defendant further breached the Agreement by
                                                                          providing Plaintiff's Confidential
Informationto third parties to facilitate the creationofimposteraccounts on
                                                                                      Instagram, concerning
Plaintiff.

        30.      Upon information       and   belief, Defendant has used Plaintiffs Confidential

Information, or has provided     same   to third   parties,   to create   imposter   accounts of   Plaintiff to

negatively affect Plaintiff's business.

        31.      Upon information      and    belief, Defendant has          used Plaintiff's Confidential


Information to make contact with many others and provided them with false and
                                                                                               disparaging
information about Plaintiffwith the intent to harm Plaintiffs business.




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          32.    Defendant has also breached the
                                                 Agreement              by providing confidential, false,       and

 misleading information to Hearst Media, which caused Plaintiffto lose the              business with Hearst

Media.

          33.       Defendant's actions have resulted in Plaintiffs loss of                 of the
                                                                                     some
                                                                                                        Investors,
Clients and Partners, and Employees.

          34.    Plaintiff has hired the      undersigned     law firm and has agreed to pay reasonable

attorneys fees for its legal services in this action.

          35.    All conditions precedent have been
                                                             performed, waived or excused.

                          COUNI I      -


                                            BREACH OF THE AGREEMENT

         36.     Plaintiffrepeats and alleges the preceding allegations in paragraphs 1        -
                                                                                                   35   as   iffully
set forth herein.


         37.    Plaintiff and Defendant entered into the Agreement
                                                                   pursuant to which Defendant

agreed not to divulge, misuse, or otherwise disclose any of Plaintiff's Confidential Information.

         38.    The   Agreementis      an   enforceable contract between Plaintiffand Defendant.

         39.    Defendant had     an   affirmative contractual duty and obligation per the
                                                                                           Agreement
that prohibited him from divulging, misusing, or
                                                 disclosingPlaintiffs Confidential Information.
         40.    Defendant breached the terms of the Agreement with PIaintiff
                                                                             by, among other

things, using Plaintiffs Confidential Information to            contact   Plaintiff's Investors, Clients and

Partners, and Employees     to   provide them with false       and   misleading information about Plaintiff
and its business.


         41.    As a direct and   proximate cause ofDefendant'swrongful actions and breach of the

Agreement as described herein, Plaintiffhas sustained substantial damages, and will continue to

accrue   and sustain such damages.




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          WHEREFORE, Plaintiffrespectfully requests that the Court enter judgment in its favor
 and   against Defendant. Plaintifffurther requests that the Court enter an     award of damages for all

 damages resulting from Defendant's material breach         of the   Agreement, together with all related

prejudgmentinterest, post judgment interest, attorneys' fees, and costs, and any further reliefthat

this Honorable Court deems just and
                                    proper.

       COUNT H- TORTIOUS INTERFERENCE WITH
                                                                   BUSINESS RELATIONSHIPS

          42.     Plaintiffrepeats and alleges the precedingallegations in
                                                                           paragraphs 1        -
                                                                                                   35 as iffully

set   forth herein.


          43.     Plaintiffhasongoing business relationships with its
                                                                          Investors, Clients and Partners,
and    Employees, and there is   an
                                      understanding that those relationships would continue            without

improper and unlawful interference by Defendant.

         44.     Defendant has    knowledge     of Plaintiffs   ongoing business relationships         with its

Investors, Clients and Partners, and Employees due to his employment with Plaintiffand access to

Plaintiffs Confidential Information.

         45.     Defendant    intentionally   and without   justification used Plaintiff's Confidential
Information to contact Plaintiff's Investors, Clients and
                                                          Partners, and Employees         to   provide them
with false and        misleading information    to   purposefully interfere with Plaintiff's business

relationships with its Investors, Clients and Partners, and Employees.

         46.     Plaintiff has suffered and continues to suffer substantial
                                                                                        damages due         to

Defendant's intentional interference with Plaintiffs business
                                                                       relationships   with its     Investors,
Clients and Partners, and Employees.


         WHEREFORE, Plaintiffrespectfully requests that the Court enter judgment in its favor

and   against Defendant. Plaintifffurther requests that the Court enter an     award of damages for all




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 damages resulting from         Defendant's tortious interference with Plaintiffs business
                                                                                                     relations,
 together with all related prejudgment interest, post judgment interest, and
                                                                                  costs, and any further

reliefthat this Honorable Court deems just and
                                                    proper.

                      COUNT III     -
                                        REOUEST FOR INJUNCTIVE REI#:FF

          47.     Plaintiffrepeats and alleges the preceding allegations in paragraphs 1    -
                                                                                                35   as   iffully
set forth herein.


          48.     Plaintiffhasdemonstrated a likelihood of success on the merits and that a
                                                                                                     balancing
of the   equities favors the issuance of an injunction against Defendant.

          49.     Plaintiffhas no   adequate remedy at law.
          50.     Unless Defendant is temporarily,
                                                          preliminarily,   and thereafter
                                                                                                permanently
enjoined from misappropriatingPlaintiff's Confidential Information and using it to provide false

and   misleading information, Plaintiff will      be   irreparably harmed by    the loss of corporate

opportunities, goodwill, and client and employee relationships of an       unknown amount and             value,
resulting in present economic loss, which is unascertainable at this time, and future economic loss,

which is presently incalculable, and
                                         damage to Plaintiffs legitimate business interests.

         WHEREFORE, Plaintiff respectfully requests that          the Court enter   a
                                                                                        preliminary, and
thereafter, a permanent injunction enjoining Defendant, directly or indirectly, and whether acting

alone    or   in concert with    others, from disclosing, misusing,        otherwise
                                                                      or
                                                                                        misappropriating
Plaintiffs Confidential Information, together with all related prejudgment interest,
                                                                                     post judgment

interest, and costs, and any further reliefthat this Honorable Court deems just and proper.




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                                   JURY TRIAL DEMAND

       Plaintiffdemands trial by jury on all matters so triable.




                                             Respectfully submitted,

                                             MAMRICK LAW FIRM
                                             Attorneys for ECOM Products Group Corporation
                                             1620 West Oakland Park Boulevard
                                             Suite 300
                                             Fort Lauderdale, Florida 33311
                                             Telephone: (954) 564-2246
                                             Peter T. Mavrick, Esq.
                                             E-mail:
                                             Nathan A. Kelvy,      Esq.
                                             E-mail:



                                             By:/s/ Peter T. Mavrick
                                             Peter T. Mavrick
                                             Florida Bar No.: 0083739
                                             Nathan A. Kelvy
                                             Florida Bar No.: 00968I5




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                            EXHIBIT A
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          Case 8:21-cv-01573-WFJ-AEP Document 1-1 Filed 06/30/21 Page 12 of 16 PageID 20
                                                        E6225




                                                           CONSULTING AGREEMENT
                                                           CONSULTING AGREEMENT
                                                        ECOM PRODUCTS
                                                        ECOM PRODUCTS GROUP
                                                                      GROUP CORP
                                                                            CORPORATION
                                                                                 ORATION

                                                                                    AND


                                                                             MICHAEL
                                                                             MICHAEL COX
DocuSign Envelope ID:                                  DA8B1E6225
           Case 8:21-cv-01573-WFJ-AEP Document 1-1 Filed 06/30/21 Page 13 of 16 PageID 21



             This LETTER OF AGREEMENT
                                      (the               "Agreement") is dated IlJanuary 20201.
             Between
             (A) ECOM Products Group Corporation a
                                                   company incorporated in Florida located at PO Box
             10542, Tampa, FL 33786 ("EPGC" or the           and "Company");

             (B) Michael Cox of 57 Humphrey Rd, Santa Barbara, CA 93108 (the
                                                                             "Consultant")
             NOW THEREFORE, for good and valuable
                                                     consideration,receipt of which is               hereby acknowledged by
             the Company and the Consultant
                                            (collectivelythe "Partiesn it is       ),      hereby mutuallyagreed as follows:
             1.    Consulting ServicesEPGC. EPGC engages the Consultant to
                                                                                 provide International Consulting
             Services for the operation of EPGC. The Consultant shall
                                                                      report directly to the Chairman as agreed by
             the Board of Directors of the
                                             Company. The Consultant's title shall be "Group COO and Head of
             Platforms", and the Consulting Services provided shall include the
                                                                                            following:

             a)     Role 1


                     i)   Appointed as     one    of the directors of the   Company.

                     ii) Appointed the Finance Director of the Group.

                     iii) Appointed the COO of the Company to support the Group's strategy and
                                                                                               objectives and
                          generally support the Executive Chairman.

             b)     Role 2


                    i)    Actasthe Managing Director of EPG platforms,
                                                                              whereby the Consultantshall macro manage
                          EPG platforms'investmentand be
                                                                  responsiblefor managingand building these investments.



            2.    ConsultingFee and Bonuses.          For the services carried out in Item 1, the Consultantshall
                                                                                                                  receivethe
            followingfee and bonuses:

             a)    For Role 1


                    l)    An annual Director's Fee of USD20,000 to be
                                                                      paid in the form of shares of the Company (an
                          OTC listed company), and issued at the opening
                                                                          price of each year and if during Year 1 at
                          US$0.27 per share; and

                    ii)   An   hourly   rate of   US$62.50 for   the provision of agreed     Consulting Services, capped       at   a
                          maximum of US$10,000/monthcombined for both Role 1 and Role 2.


            b)     For Role 2


                    i)    An   hourly   rate of   US$62.50 for the provision of        services   as   Managing Director of EPG
                          Platforms, capped       at a maximum of   US$10,000/month combined for both               Role 1 and Role
                          2.


                    li) Bonuses-Bonusesto bepaidintheform of shares of the Companyforthefollowing:

                           .
                                 Capital Raise for the Company 1.5% of any capital raised through
                                                                    -

                                                                                                               an   investor
                                 introduced by the Consultant;
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                 .
                       InvestmentTransactions           -


                                                            Any investment transactionsmade by the Consultant,
                       which have been agreed as per each transaction the
                                                                     by   Chairman; and
                 .
                       Growth of Investments  For achieving agreed growth of each investment
                                                    -




                       review and agreement
                                                                                             subject to
                                            by the Chairman.
          In any one year the Consultant can
                                             opt to convert any part of his fees earned during the                 period
          atthe openingshare price of that
                                           year, and jf during Year 1 at US$0.27 per share.



    3. Term. This    Agreement shall   commence on 1
                                                               St
                                                                    January 2020 and shall be for a period of 5   years.

    4.   Independent Contractor. The Consultantwill operate under agreed levels of
    all times be, and conduct himself
                                                                                   authority, and shall at
                                         as,   independentcontractor in respect of Company, and shall not,
                                               an
    under any    circumstances, create, or purport to create, any obligations on behalf of
                                                                                           Company or its
    Affiliates including, but are not limited to,
                                                  any holding company of Company or any subsidiaryof such
    holding company or any subsidiaryof Company.

    5.  Confidentiality. The Consultant understands and agrees            to keep any and all information
    confidential regarding the business plans,
                                                 inventions, designs, products, services, processes, trade
secrets, copyrights, trademarks, customer information, customer lists,
                                                                                 prices, analytics data, costs,
affairs, and any other informationntthat could be considered proprietaryto the Company
                                                                                                ("Confidential
Information"). The Consultant understands that disclosure of any such Confidential
                                                                                                  Information,
either directly or indirectly, shall result in litigation with the
                                                                     Company eligible for equitable relief to
the furthest extent of the law,
                                    including but not limited to, filing claims for losses and/or damages. In
addition,  if it is found that the Consultant dlvulged Confidential Information to a third
the Consultant shall be entitled
                                                                                              (3rd) party with
                                      any and all reimbursement for their legal and attorney's fees. After
the Consultant has terminated its Agreement with the
                                                             Company, the Consultantshall still be bound
to Section 6 of this Agreement
                                      ("ConfidentialityTerm"). The confidentiality term shall survive this
agreement. If the ConfidentialityTerm is beyond any limit set by local,
                                                                              State, or Federal laws, then the
ConfidentialityTerm shall be the maximum allowed legal time-frame.

6. Indemnification. The Consultant
                                       agrees to indemnify and hold harmless the                          Company or its
affiliates from and against any and all reasonable
                                                                     loss, liability, charge, claim, damage, and expense
whatsoever, as and when incurred, arising out of, based upon, or in connection with the
Services provided under this Agreement or such
                                                                                          Consulting
                                                  loss, liability, charge, claim, damage or expense
arising out of the Consultanfs failure to comply with the terms and provisions of this
                                                                                       Agreement, or
any breach of any representation, warranty, covenant, or agreement of the Consultant
                                                                                         contained in
this Agreement.


7. Amendments and Waivers.        The provisions of this Agreement including the provisions of this
sentence, may not be amended, modified orsupplemented, unless such amendment, modification or
supplement is in writing and signed bythe parties hereto. If the EmployerorEmployee failsto enforce
a
  provision or section of this Agreement, it shall not be determined as a waiver or limitation. Either
party shall remain the right to enforce and compel the compliance of this Agreement to its fullest
extent.



8. Severability. This Agreement shall remain in effect in the event a
                                                                           section                      or  provision is
unenforceableor invalid.All remaining sections and provisions shall be deemed
                                                                                                  legally binding unless
a   court rules that any such   provision or section is invalid or unenforceable, thus, limiting the effect of


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  another provision      or   section. In such case, the affected
                                                                  provision or section shall be enforced as    so
 limited.


 9. Assignment.This Agreement is between
                                             Companyand the Consultantand the Consultantmay not
 sell, assign, transfer or hypothecateany rights or interestscreated under this
                                                                                Agreement or delegate
 any of their duties withoutthe prior written consent of the
                                                                    Company.

 10. Entire Agreement. This
                               Agreement is intended by the Parties as a final expression of their
 agreement and intended to be a complete and exclusive
                                                                  statement of this Agreement and
 understanding of the parties hereto in respect of the subject matter contained herein.

 11.   Attorney Fee's. If any legal action       or   any arbitration        other
                                                                        proceeding is brought for the
                                                                        or
 enforcement ofthis Agreement, orbecause of an
                                                  allegeddispute, breach ordefault in connection with
 any of the provisionsof this Agreement, the successful or
                                                           prevailing party shall be entitled to recover
 reasonableattorneys' fees incurred inthis action or
                                                     proceeding in addition to anyother reliefto which
 he   or   it may be entitled.



 12. Termination.The
                        Company reserves the right at any time and without any liabilityor continuing
 obligation to the Consultant to terminate this Agreement with 90 calendar days' notice.

 Notwithstandingthe provisionsfor termination as stated herein, this Agreement
                                                                                may be terminated
 forthwith by the Company without prior notice or
                                                  any compensation if the Consultantat any time:

 a)    Commits any material serious or persistent breach of
                                                                  any ofthe provision herein contained or be
       guilty of willful neglect in the discharge of its / their duties as stipulatedin this
                                                                                             Agreement;

 b)    isguilty of any grave misconduct or dishonesty or commits any act which in the
                                                                                      opinion of the
       Company is likely to bring the Company into disrepute whether or not such
                                                                                                    misconduct,
       dishonesty or act is directly related to the affairs of the Company.

 c)    becomes unfit to fulfill its / their duties or in the
                                                             opinion of the Company if he is guilty of
       insubordination or are inefficient In the performance of his duties;


 d) becomes guilty     of any criminal offence or has committed an act which in the
                                                                                        opinion of the
       Company  is of such a nature as to
                                          adversely affect the trust and confidence of the Company in
       the Consultantfor providingthe
                                       Consulting Services;

 e) refuses to accept the orders of the Company which are within the law                and within the scope of
    the Consulting Services without any reasonable
                                                   grounds.

The  Company shall, on the happening of any one or more of the above-mentioned events or on the
happening of any other event not specifically mentioned herein, which the Company may at its
discretion consider adverse to its interest and / or consider to be of a serious nature or in
                                                                                              the event
of a breach of an express or implied term of this             be
                                                  Agreement      entitled to terminate this Agreement
immediately without any liabilityon the part of the Company and without prejudice to any
                                                                                                right or
remedies available to the Company at law or otherwise in
                                                           respect ofthe events mentioned.

The Consultantmust provide the
                                  company with 90 days' notice before             leavingthe company. If in the
event of the Consultant leaving before the
                                                 90-day
                                                 notice        isperiod       completed, the Consultant forfeits
the right to any bonuses accrued
                                        during that period.
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 13. Approval by Board of Directors. To be valid
                                                 and be            enforceable, approval from the   Board of
 Directors of the EPGC need to be obtained.



 14. Governing Law and Jurisdiction. This
                                                 Agreement shall be governed by and construed in
 accordance with the laws of the State of Florida. Each
                                                          of the parties agrees that any
                                                                                          legal action or
 proceedings arising out of or relatingto this Agreement shall be
                                                                    brought to the Courts of the State of
 Florida and irrevocably submits to the exclusive
                                                  jurisdiction of such courts.




 As witness the hands of the
                               parties hereto the day and year first above written.




 5igned by Andrew Wyles Waters
 For and                                         -DocuSIgnedby:
           on   behalf of                 1
                                                 I
 ECOM PRODUCTS GROUP
 CORPORATION
                                          i      ,
                                                 ,-4. h'1
                                                 -67FEABEEABC1453.
                                                  67FEAB




                                                 -DocuSIgnod
                                                           dbby:

Signed by                                            Mdwul 62
 MICHAEL COX                                     -57622EDC296F482...
                                          1
